
699 S.E.2d 640 (2010)
STATE of North Carolina
v.
John Kennedy MEADOWS.
No. 29P10.
Supreme Court of North Carolina.
June 16, 2010.
Amy Kunstling Irene, Assistant Attorney General, for State of North Carolina.
Anne Bleyman, for John Kennedy Meadows.
Prior report: ___ N.C.App. ___, 687 S.E. 2d 305.

ORDER
Upon consideration of the petition filed by State of NC on the 15th of January 2010 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 16th of June 2010."
Upon consideration of the petition filed on the 15th of January 2010 by State of NC in this matter for discretionary review of the *641 decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 16th of June 2010."
